                  THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         SOUTHERN DIVISION
                           No. 7:10-cv-151-BO


JACQUELIN WARREN                                    )
Plaintiff,                                          )
                                                    )
vs.                                                 )
                                                    )
NCO FINANCIAL SYSTEMS, INC.                         )
Defendant.                                          )


       COME NOW the Parties to this Complaint filed by the Plaintiff, by and through counsel,
pursuant to Rule 41 of the Federal Rules of Civil Procedure and stipulate to the dismissal of the
said Complaint filed by the Plaintiff against the Defendant with prejudice. The Parties shall
have leave to reopen the case in the event the terms of the settlement agreement are breached.
The Court retains jurisdiction with respect to the enforcement of the settlement.

This the 22nd day of October 2010.

                                                    /s/Angela O. Martin
                                                    Angela O. Martin
                                                    Attorney for the Plaintiff


                                                    /s/ Thomas J. Doughton
                                                    Thomas J. Doughton
                                                    Attorney for the Defendant




           Case 7:10-cv-00151-BO Document 8 Filed 10/22/10 Page 1 of 2
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JACQUELIN WARREN                                     )
Plaintiff,                                           )
                                                     )
vs.                                                  )
                                                     )
NCO FINANCIAL SYSTEMS, INC.                          )
Defendant.                                           )

                                 CERTIFICATE OF SERVICE

       I certify that on October 22, 2010, I electronically filed the foregoing Notice with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:


ADDRESSEE(S):

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       This the 22nd of October, 2010.

                                              s/Angela O. Martin
                                              Angela O. Martin
                                              Attorney for the Plaintiff
                                              North Carolina State Bar Number 34951




           Case 7:10-cv-00151-BO Document 8 Filed 10/22/10 Page 2 of 2
